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                         EXHIBIT 1
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                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS
----------------------------------- x
                                    :
IN RE: PHARMACEUTICAL INDUSTRY      :
AVERAGE WHOLESALE PRICE             :
LITIGATION                          : MDL No. 1456
                                    :
                                    : Civ. No. 01-CV-12257 PBS
----------------------------------- x
                                    : Hon. Patti B. Saris
THIS DOCUMENT RELATES TO PROPOSED :
NATIONWIDE CLASSES 2 AND 3 AS TO    :
BMS AND ASTRAZENECA                 :
                                    :
                                    :
----------------------------------- x

       ASTRAZENECA PHARMACEUTICAL LP’S SUBMISSION OF RECENT
     CIRCUIT AUTHORITY SUPPORTING DENIAL OF PLAINTIFFS’ PENDING
        MOTION FOR CERTIFICATION OF NATIONAL CLASSES 2 AND 3

       Defendant AstraZeneca Pharmaceuticals LP writes to advise the Court of two recent

circuit court decisions – one by the First Circuit, the other by the Second Circuit – that further

support denial of Plaintiffs’ Motion to Certify Nationwide Classes 2 & 3.

A.     First Circuit Decision

       On March 28, 2008, the First Circuit vacated the district court’s class certification in In re:

New Motor Vehicles Canadian Export Antitrust Litigation, No. 07-2257, 2008 U.S. App. LEXIS

6483 (1st Cir. Mar. 28, 2008). The New Motor Vehicles plaintiffs alleged a conspiracy among

automobile manufacturers to illegally block lower-priced imports from Canada, thus inflating the

price of new cars sold in the United States. The district court certified both an injunctive class

under federal antitrust law and a damages class under the antitrust and consumer protection laws

of numerous states. On interlocutory appeal under Federal Rule of Civil Procedure 23(f), the

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First Circuit vacated certification of the damages class in part because the determination whether

any particular class member was in fact injured by defendants’ alleged conduct could not be

made without examining each class member’s individual circumstances. Id. at *65.

       The First Circuit’s decision is directly relevant to issues pending before this Court on

plaintiffs’ motion for class certification. First, the First Circuit held that expert testimony of a

generalized nature is not a substitute for evidence that must be proved as to individual class

members; rather, plaintiffs’ theory “must include some means of determining that each member

of the class was in fact injured, even if the amount of individual injury could be determined in a

separate [individual damages] proceeding.” Id. at *62. As the First Circuit noted:

       The plaintiffs might intend to use their damages model to prove both fact of
       damages and the measure of those damages. If so, the district court would need
       enough information to evaluate preliminarily whether the proposed model will be
       able to establish, without need for individual determinations of the many millions
       of potential class members, which consumers were impacted by the alleged
       antitrust violation and which were not. . . . The ability to calculate the aggregate
       amount of damages, as plaintiffs propose to do here, does not absolve plaintiffs
       from the duty to prove each [class member] was harmed by the defendants’
       practice.

Id. at *63-64 (internal quotations omitted).

       This clear articulation of the basic premise that where individual determinations are

required, the class action device is appropriate only where it does not affect the parties’

substantive rights and obligations to prove or contest those determinations as to individual class

members accords with the overwhelming weight of authority from the Supreme Court and courts

throughout the country, as AstraZeneca has previously shown. See AstraZeneca Pharmaceutical

LP’s Memorandum of Law in Opposition to Plaintiffs’ Motion to Certify Nationwide Classes 2

& 3 (Docket Entry #4981).


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       As this Court noted in its prior class certification decision and as plaintiffs themselves

concede, plaintiffs’ proposed basis for proving liability and damages on an aggregate basis

cannot establish whether any particular third-party payor was injured by the AWPs provided by

AstraZeneca. Even if it could be proved that a “typical” third-party payor might have been

injured by AstraZeneca’s alleged actions, that conclusion cannot support a determination that

any particular third-party payor was in fact injured – or that all class members were actually

injured. In this case, a determination of whether a particular third-party payor was injured

necessarily turns on that particular third-party payor’s actual knowledge, its internal premium

setting, its unique business objective and policies for sustaining its physician network, its

interaction with AstraZeneca personnel, its own corporate structure, its employees’ prior

experience, its reimbursement for AstraZeneca’s drug Zoladex and myriad other individual

issues. These issues can only be determined on an individualized basis, through individualized

discovery and trial, and they are not susceptible to class-wide “aggregate” determination.

       In New Motor Vehicles, the plaintiffs attempted to excuse the absence of individual proof

of injury by relying on an inference that “any upward pressure on national pricing would

necessarily raise the prices actually paid by individual consumers.” New Motor Vehicles, 2008

U.S. App. LEXIS 6483 at *65. While the First Circuit noted the “intuitive appeal” of this

argument, it soundly rejected it because “intuitive appeal is not enough.” Id. It found that there

were too many factors involved in the individual price negotiations of each class member to

presume that any price increase would cause any particular purchaser to have paid a higher retail

price. Id. Similarly, in the matter before this Court, there are too many factors contributing to

each third-party payor’s unique knowledge of AWP (gleaned from both public and private


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sources, including independent interactions with AstraZeneca) and each third-party payor’s

decision to adopt and maintain AWP-based reimbursement to permit a presumption regarding

class-wide expectations or causation in lieu of individualized evidence with respect to each class

member.1

       Second, the decision in New Motor Vehicles acknowledges that differences in state law

must be accounted for, and may render class certification improper for plaintiffs in different

states. In New Motor Vehicles, even the seemingly simple questions of whether different state

antitrust laws permit indirect purchaser claims and what levels of proof of consumer impact each

such law requires presented a host of issues to be analyzed and addressed by the district court in

the Rule 23 context. Id. at *31-32, *43-46. The Court’s concern in New Motor Vehicles about

the need for analysis and consideration of these state law differences underscores the difficulties

that would confront this Court and the jury in attempting to try Classes 2 and 3 on a nationwide

basis under the highly individualized consumer protection laws of 38 different jurisdictions.

Indeed, in this case, there are many more material variations in the required level of proof than

the sole variation among state antitrust laws at issue in New Motor Vehicles. The Circuit

Court’s decision demonstrates that, because each state’s law must be applied, an amalgamated

approximation – such as the common law fraud instruction plaintiffs have proposed in this case –

is inadequate, and a national damages class would therefore be inappropriate. Id. at *43-46

(performing the necessary analysis of each state’s law); see also New Motor Vehicles, 235 F.R.D.

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         It should be noted that the Court of Appeals rejected the district court’s class
determination even though it was willing to assume the possibility that the need for individual
damage determinations could be satisfied with a “separate proceeding.” In re: New Motor
Vehicles Canadian Export Antitrust Litigation, No. 07-2257, 2008 U.S. App. LEXIS 6483, at
*62 (1st Cir. Mar. 28, 2008)

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127, 130 (D. Me. 2006) (“It is important to re-emphasize that there is no effort here to certify a

nationwide damage class amalgamating the laws of different states. . .”).

       Finally, the First Circuit's decision in New Motor Vehicles makes clear that plaintiffs’

proposal to have four third-party payors represent a class of plaintiffs in 38 states is deeply

flawed. In New Motor Vehicles, the First Circuit did not need to address the adequacy of the

class representatives because plaintiffs had proposed state-specific classes with separate class

representatives from each state and the district court had eliminated those states where that

state’s class representative could not establish an element of the claim. New Motor Vehicles,

2008 U.S. App. LEXIS 6483 at *32, 33 n.17 (noting that the Kansas class was not certified for

this reason); see also New Motor Vehicles, 235 F.R.D. 127, 131 (noting that the damages classes

require at least one class representative for each state). Thus, even if the other elements of Rule

23 could be satisfied, state-specific classes with separate class representatives are necessary to

ensure that absent class members are adequately represented by individuals whose interests are

aligned both factually and legally, as required by Rule 23. Those class representatives must be

identified, and their adequacy tested and verified, before any class can be certified. Fed. R. Civ.

Pro. 23.

B.     Second Circuit Decision

       Yesterday, in McLaughlin v. Philip Morris USA, Inc., No. 06-4666-cv, 2008 U.S. App.

LEXIS 7093 (2d Cir. Apr. 3, 2008), the Court of Appeals for the Second Circuit vacated the

certification of a nationwide class of purchasers of “Lights” cigarettes. The plaintiffs’ core

allegation in McLaughlin is that cigarette manufacturers uniformly misrepresented the nature of

Lights cigarettes and thereby caused smokers of such cigarettes to overpay for them. Id. at *5.


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The Second Circuit’s decision to decertify the class on interlocutory appeal under Rule 23(f)

provides further support against the certification in this case of nationwide Classes 2 and 3.

       First, the Second Circuit recognized that class certification under Rule 23 is problematic

in cases where reliance is an element of the plaintiffs’ claim. In McLaughlin, plaintiffs sought

recovery under RICO, which under Second Circuit authority requires a demonstration of reliance.

As the McLaughlin court explained, where reliance must be shown, “proof of misrepresentation

– even widespread and uniform misrepresentation – only satisfies half of the equation” under

Rule 23. Id. at *14. The other half – i.e., the conduct, motivations, judgments, analyses,

interactions, knowledge, sophistication of each member of the purported class – cannot be the

subject of common proof. Id. (“Individualized proof is needed to overcome the possibility that a

member of the purported class purchased Lights for some reason other than the belief that Lights

were a healthier alternative – for example, if a Lights smoker was unaware of that representation,

preferred the taste of Lights, or chose Lights as an expression of personal style.”).

       Reliance is an element of the claims under numerous of the consumer protection statutes

at issue in the matter before this Court (either as an explicit statutory requirement or as a result of

applicable state-law decisions in various jurisdictions). Accordingly, even if “widespread and

uniform” misrepresentation as to AWPs could be shown here on a class-wide basis, the “other

half” of what must be proved – namely, the conduct, motivations and factors that influenced the

decision of each third-party payor and consumer, not to mention each one’s knowledge, level of

sophistication, nature of its business and employees, as well as numerous other individual factual

matters – cannot be demonstrated by common proof. As in McLaughlin, that fact presents an

insurmountable obstacle to certification under Rule 23 in this case.


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       Second, the McLaughlin court recognized that – outside the specific context of a

securities case in which a fraud-on-the-market allegation is sustainable based on the

demonstration of market efficiency – a presumption of reliance is not appropriate under Rule 23

where, like here, there are differences in plaintiffs’ knowledge and levels of awareness. Id. at

*23 (“Thus, differences in plaintiffs’ knowledge and levels of awareness also defeat the

presumption of reliance.”). McLaughlin is further authority for this Court to reject the

presumption of reliance that plaintiffs have proposed for Classes 2 and 3.

       Third, McLaughlin demonstrates that, whether or not reliance is a required element of

plaintiffs’ claims, the need to demonstrate causation as to each class member presents a

significant obstacle to certification under Rule 23. As the Second Circuit explained, “because

factors other than defendants’ [alleged] misrepresentation may have intervened[,]” determining

“the portion of plaintiffs’ injury attributable to defendants’ [alleged] wrongdoing would require

individualized inquiry.” Id. at *26. Importantly, McLaughlin makes plain that the difficulty of

having to establish injury for each individual class member cannot be surmounted by expert

testimony as to the “overall price impact on a class-wide basis” of the alleged misrepresentation.

Id. at *37. Evidence of an overall impact cannot demonstrate impact on any particular member

of the class, and thus is inadequate as a means of proving causation.

       Fourth, McLaughlin holds that the use of Rule 23 to create an aggregate class-wide

judgment, creates significant and possibly insurmountable problems under both the Rules

Enabling Act and the Due Process clause – even if separate individual proceedings are

contemplated to establish the fact and amount of individual class member damages. Id. at *40

(“Roughly estimating the gross damages to the class as a whole and only subsequently allowing


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for the processing of individual claims would inevitably alter defendants’ substantive right to pay

damages reflective of their actual liability.”); id. at *42-43 (“When fluid recovery is used to

permit the mass aggregation of claims, the right of defendants to challenge the allegations of

individual plaintiffs is lost, resulting in a due process violation.”); see generally, 2 MCLAUGHLIN

ON CLASS ACTIONS § 8:16, at 8-95 (3d ed. Dec. 2006 update) (“Courts have repeatedly rejected

the use of fluid recovery as a substitute for individualized proof when the class pursues claims

that require proof of actual damages.”).


Dated: April 4, 2008


                                      Respectfully submitted,


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                                CERTIFICATE OF SERVICE

I certify that a true and correct copy of the foregoing was delivered on April 4, 2008 to counsel
for plaintiffs and to all counsel of record by electronic service pursuant to Paragraph 11 of Case
Management Order No. 2, via LexisNexis File & Serve.


                                      /s/ Katherine B. Schmeckpeper
                                      Katherine B. Schmeckpeper (BBO #663200)




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